









Petition for Writ of Mandamus Denied and Memorandum Opinion filed March
11, 2004









Petition for Writ of Mandamus Denied and Memorandum
Opinion filed March 11, 2004.

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00002-CV

____________

&nbsp;

IN RE LIBERTY-HOSPITAL, INC., Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On January 5, 2004, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex. R. App. P. 52.&nbsp; 

We deny relator=s petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition Denied
and Memorandum Opinion filed March 11, 2004.

Panel consists of
Justices Edelman, Frost and Guzman.





